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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

JOHN OLSZEWSKI                                       :
                                                     :
       v.                                            : CIVIL NO. CCB-04-3330
                                                     :
JOSEPH T. ALEX, ET AL.                               :
                                                 ...o0o...

                                          MEMORANDUM

       Plaintiff John Olszewski has sued Baltimore County police officers Joseph T. Alex and

David Claridge, asserting several claims under 42 U.S.C. § 1983 and state law arising out of Mr.

Olszewski’s arrest on October 18, 2001.1 The facts have been fully described in the parties’

recent memoranda and exhibits in connection with the defendants’ motion for summary

judgment. For the reasons that follow, the motion will be granted in part and denied in part.

       As to the § 1983 claims, the defendants assert that they are entitled to qualified

immunity. The Fourth Circuit recently stated the applicable analysis as follows:

                ...our first task is to identify the specific right that the plaintiff
                asserts was infringed by the challenged conduct. We then ask
                whether the facts, viewed in the light most favorable to the
                plaintiff, demonstrate a violation of that right. If they do, we
                consider whether, at the time of the claimed violation, the right
                alleged to be violated was clearly established – meaning that “a
                reasonable official would understand that what he is doing
                violates” the right in question.

Waterman v. Batton, 393 F.3d 471, 476 (4th Cir. 2005)(internal citations omitted); see also

Turmon v. Jordan, 405 F.3d 202, 205-06 (4th Cir. 2005).

       Mr. Olszewski’s § 1983 claims arise under the Fourth Amendment. His first claim is for

arrest without probable cause based on the officers’ mistaken belief that he was Thomas


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        Two additional defendants, Bruce Vaughan and Sekou Hinton, are being voluntarily
dismissed.
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Apicella, the individual for whom the officers possessed a valid warrant. Based on the

undisputed facts concerning the location and timing of the arrest and the degree of physical

resemblance between Mr. Olszewski and Mr. Apicella, the officers were within the standard of

“reasonable mistake” and are entitled to qualified immunity on that claim. See Hill v. California,

401 U.S. 797, 803-04 (1971); Rodriguez v. Farrell, 280 F.3d 1341, 1346 (11th Cir. 2002);

Thompson v. Prince William County, 753 F.2d 363, 364 (4th Cir. 1985).2

       Mr. Olszewski’s second claim is for the application of excessive force in effectuating that

arrest. Viewed in the light most favorable to the plaintiff, he was unreasonably tackled to the

ground, kicked in the groin, punched in the face, and otherwise beaten by both officers while

lying on the ground yelling, “Help, police.” The injuries as depicted in the photographs and

medical records, supplemented by the plaintiff’s evidence that he sold his house and moved to a

different neighborhood out of fear due to the beating, are not de minimis as a matter of law. See

Young v. Prince George’s County, 355 F.3d 751, 758 n.3 (4th Cir. 2004). The testing for

evaluating a claim of excessive force is one of objective reasonableness under the circumstances.

Waterman, 393 F.3d at 476, citing Graham v. Connor, 490 U.S. 386 (1989). Accepting Mr.

Olszewski’s version of events, a reasonable officer would have known that the force applied to

Mr. Olszewski on October 18, 2001 violated his Fourth Amendment rights. Turmon, 405 F.3d at

208.

       Mr. Olszewski’s third claim is akin to false arrest and malicious prosecution based on the


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         More specifically, it was reasonable to approach Mr. Olszewski to determine if he was
Mr. Apicella, and the situation thereafter escalated in a way that prevented a considered
determination of Mr. Olszewski’s identity. Whether the officers actions amounted only to an
investigative Terry stop or evolved into a custodial arrest, they are nonetheless entitled to
qualified immunity.

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officers’ decision, upon learning they had arrested the wrong person, to charge Mr. Olszewski

with second-degree assault without probable cause to do so. See Brooks v. City of Winston-

Salem, N.C., 85 F.3d 178, 181-182 (4th Cir. 1996). The charge rests on Mr. Olszewski’s

“pushing” of Officer Alex, when he was first approached and did not realize Alex was a police

officer. As described by Officer Alex himself at Mr. Olszewski’s criminal trial, which resulted

in acquittal by the judge at the close of the government’s case: “As I reached out with my arm,

he pushed my arm away and ran. It wasn’t a violent action, just to keep me from touching him.”

(Def.’s Mot. for Summ. J., Exhibit 5, Court Transcript at 156.)

       Mr. Olszewski denies pushing Officer Alex and asserts the officers lied to cover up or

excuse their wrongful seizure of him. Without even reaching Mr. Olszewski’s possible right to

use force to resist an unlawful arrest, under his version of events there was no assault of any

kind, and the charge was malicious. Accordingly, qualified immunity does not apply, and public

official immunity does not apply to bar the state law claims of battery and malicious prosecution.

See Young, 355 F.3d at 759.3

       A separate Order follows.




 November 8, 2005                                                    /s/
     Date                                                    Catherine C. Blake
                                                             United States District Judge



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        Judgment will be granted on the claim of intentional infliction of emotional distress,
however, given the very high standard Maryland courts apply as to both the outrageousness of
the conduct and the severity of the distress that must be shown. See Williams v. Prince George’s
County, 157 F.Supp.2d 596, 605 (2001).

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